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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

______________________________________________________________________________

DBW PARTNERS, LLC                         :
d/b/a THE CAPITAL FORUM,                  :
  1200 New Hampshire Avenue, N.W.,        :
  Washington, D.C. 20036                  :     Civil Action No. 19-311
                                          :
                   Plaintiff,             :
                                          :
             v.                           :
                                          :
                                          :     JURY TRIAL DEMANDED
BLOOMBERG, L.P. and                       :
BLOOMBERG FINANCE, L.P.                   :
 731 Lexington Avenue                     :
 New York, New York 10022                 :
                                          :
                   Defendant.             :
______________________________________________________________________________


                                          COMPLAINT

       Plaintiff, DBW Partners LLC, d/b/a The Capitol Forum (“Plaintiff” or “Capitol Forum”),

for its complaint against Defendants Bloomberg, L.P. and Bloomberg Finance, L.P. (collectively

“Defendants” or “Bloomberg”) alleges as follows:

                                       INTRODUCTION

       1.      This is an action for: (1) copyright infringement; (2) contributory copyright

infringement; (3) misappropriation of proprietary information under the “hot news” doctrine; and

(4) tortious interference with contractual relationships, arising from Bloomberg’s illegal

solicitation, receipt, and use of Capitol Forum’s copyrighted and proprietary reports.

       2.      The Capitol Forum is an investigative news and analysis company, in the business

of providing time-sensitive and in-depth reports to its subscribers, including investors, industry

stakeholders, law firms and policymakers. It publishes a premium internet-based subscription
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service, releasing anywhere between 30 and 50 reports each month on matters relating to

mergers and acquisitions, consumer protection, government contracts, corporate investigations,

and antitrust enforcement. The Capitol Forum’s reports are extensively researched and carefully

written, often the product of months of work, and its subscribers rely on these reports to make

investment and business decisions. Given the respected nature of Capitol Forum and its

journalists, the release of its reports will often affect the price of publicly traded stocks—and will

do so in a matter of minutes.

       3.      The Capitol Forum’s reports constitute a fundamental and competitively

significant component of its business. These reports are provided only to its subscribers and to

other authorized recipients, and each report contains a copyright notice and disclosure that its

contents may not be distributed or reproduced without Capitol Forum’s permission.

       4.      However, despite the copyrighted and proprietary nature of Capitol Forum’s

content, Bloomberg has been illegally soliciting, obtaining, summarizing, and distributing

Capitol Forum’s market analyses. Within minutes of the release of many of Capitol Forum’s

reports, Bloomberg will surreptitiously obtain the report from one or more of Capitol Forum’s

subscribers, and then republish a summary of that report on its own “First Word” copyrighted

subscription service, usually including direct quotations from the Capitol Forum report.

Bloomberg’s free-riding activities constitute a violation of the copyright laws of the United

States and Capitol Forum’s ownership rights in its proprietary material.

       5.      Bloomberg’s infringement is willful. Bloomberg knows that this material is

copyrighted. It knows that it is illegal to solicit and induce copyright infringement. It knows

that it is illegal for Capitol Forum’s subscribers to transmit the material to it. It knows that its

receipt and summarization is prohibited by the copyright laws—and not excepted from copyright




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protection by the “fair use” doctrine. Indeed, Bloomberg itself warns its subscribers—and the

public—that the summarization of its own copyrighted material is illegal. Yet, and ironically,

that is precisely what Bloomberg is doing with respect to Capitol Forum’s copyrighted material.

       6.      By soliciting and obtaining Plaintiff’s copyrighted and proprietary material and by

misappropriating the creative and original aspects of Plaintiff’s copyrighted and proprietary

material, Bloomberg has caused significant injury to Capitol Forum, entitling Capitol Forum to

compensatory damages and equitable relief, injunctive relief, punitive damages, and statutory

damages in the amount of $150,000 per violation, as well as an award of attorneys’ fees.

                                             PARTIES

       7.      Plaintiff DBW Partners LLC is a District of Columbia limited liability company,

doing business as The Capitol Forum. Capitol Forum maintains its principal place of business at

1200 New Hampshire Avenue, N.W., Washington, D.C. 20036.

       8.      Defendant Bloomberg L.P. is a Delaware limited partnership and maintains its

principal place of business at 731 Lexington Avenue, New York, New York 10022.

       9.      Defendant Bloomberg Finance L.P. is a Delaware limited partnership. It is a

subsidiary of Bloomberg L.P., and maintains its principal place of business at 731 Lexington

Avenue, New York, New York 10022.

       10.     Bloomberg regularly transacts business in the District of Columbia, including by

maintaining an office at 1101 New York Avenue, N.W., Washington, D.C. 20005.

                              JURISDICTION AND VENUE

       11.     This is an action for copyright infringement arising under the Copyright Act of

1976, as amended, 17 U.S.C. § 101 et seq., as well as for common law claims. This Court has




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original and supplemental jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§§ 1331 (federal question), 1338 (copyrights), and 1367 (supplemental).

        12.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and (c), in

that a substantial part of the events giving rise to the claims occurred in this district, the harm

occurred in this district, and defendant is subject to personal jurisdiction in this district.

                                     STATEMENT OF FACTS

                                  The Business of Capitol Forum

        13.     Capitol Forum is an investigative news and legal analysis company dedicated to

informing policymakers, law firms, investors, and industry stakeholders on the effect of

government policy on publicly traded corporations and market competition. Plaintiff invests

substantial financial and human resources in generating original and high quality content for its

reports relating to various sectors of the economy. The value of these reports to Capitol Forum’s

paid subscribers lies in the high quality of the investigative reporting and analysis and the

timeliness with which that analysis reaches its subscribers.

        14.     Capitol Forum’s independent reporting is the product of the full-time effort, skill,

and judgment of, among others, analysts, journalists, and lawyers assigned to follow

developments in particular markets. A typical report, for example, may include an in-depth

analysis of the market impact of a significant policy or detail a parallel investigation of a major

antitrust review.

        15.     The reports constitute proprietary and economically valuable analysis, and are

presented in a manner that is intended to inform, among other things, a subscriber’s investment

decisions and provide guidance on a myriad of issues. The high quality and timeliness of Capitol




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Forum’s reporting is also a means of attracting new clients, and contributes to Capitol Forum’s

outstanding reputation in the financial, business, and legal worlds.

       16.     Plaintiff’s reports, intended for its paid subscribers, contain copyright notices and

state that they may not be reproduced or distributed without Plaintiff’s permission. All reports

and emails issued by Plaintiff contain a copyright notice that states that its contents “and any

proprietary content it enables [the recipient] to access are copyrighted by The Capitol Forum”

and that “[r]ecipients shall not directly or indirectly reproduce, download or otherwise

distribute. . . this content without prior written permission[.]”

       17.     Plaintiff’s reports are distributed by Plaintiff only to paid subscribers, or to other

authorized recipients. All subscribers must execute The Capitol Forum Subscription Agreement

(“Subscription Agreement”), which prohibits redistribution of Capitol Forum’s content.

       18.       Much of Plaintiff’s reporting has market impact. It is therefore important to

Capitol Forum that the distribution of its reports be limited to its authorized recipients, as

distribution of the information to non-authorized recipients would reduce the value of the

information to its subscribers.

                   Bloomberg’s Infringement of Capitol Forum’s Copyright

       19.     Bloomberg is a well-known provider of financial and business information

through various media, including a subscription-based service available to paid subscribers.

       20.     Bloomberg’s subscription-based news service is in direct competition with

Capitol Forum’s subscription-based news service. Both Bloomberg and Capitol Forum provide

business and regulatory news coverage, and target the same customer base.

       21.     Without authorization from Capitol Forum, and without Capitol Forum’s consent,

Bloomberg, by and through its employees, agents, and/or affiliates has caused to be made, and




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has directed the copying and widespread distribution of the content of Plaintiff’s copyrighted

reports for its own financial gain.

       22.     On numerous occasions, Bloomberg has impermissibly solicited and obtained

Plaintiff’s proprietary reports, has copied and quoted the most creative and original aspects of the

reports, has published its own summary or abstract of the content of the reports in the form a

“news alert,” and has distributed these “news alerts” to its own subscribers on its “First Word”

news service. While Bloomberg cites Capitol Forum as the source of its summaries and

abstracts, it does not undertake creative or journalistic efforts of its own to transform Plaintiff’s

work into something new or different from Capitol Forum’s original report. Other than

including a current market price or a reference to a past article, Bloomberg does not add any of

its own analysis or contribute any meaningful reporting to Plaintiff’s work. Bloomberg’s “news

alerts” simply extract the key information from Plaintiff’s reports, and repackage Capitol

Forum’s work in a bullet-point form for a quick read. The purpose of Capitol Forum’s reports

and Bloomberg’s “news alerts” are precisely the same: to inform their subscribers of Capitol

Forum’s copyrighted and proprietary reporting. Bloomberg’s conduct constitutes direct

infringement of Plaintiff’s exclusive right under the Copyright Act to reproduce, use, and control

its copyrighted works.

       23.     Upon information and belief, Bloomberg has profited, and continues to profit,

from the infringing news alerts.

                               Bloomberg’s Infringement is Willful

       24.     Bloomberg’s systematic infringement of Plaintiff’s copyrights is willful.

Bloomberg knows that its actions constitute copyright infringement and has otherwise acted with

reckless disregard of the high probability of infringement.




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       25.     Bloomberg is well aware that its summaries of Capitol Forum’s material is not

protected by the “fair use doctrine,” which is the defense that infringers routinely assert when

they are caught in a willful copyright violation. Over 40 years ago, the United States Court of

Appeals for the Second Circuit, in Wainwright Sec., Inc. v. Wall St. Transcript Corp., 558 F.2d

91, 95-96 (2d Cir. 1977), held that even though there can be no copyright in the news itself, such

as the actions of a particular corporation, copyright law clearly protects the author’s “analysis

and interpretation of events,” including the manner in which the author “structures his material

and marshals facts, his choice of words, and the emphasis he gives to particular developments.”

The Second Circuit held that the summarization of a copyright holder’s financial reports is not

protected by the fair use doctrine and constitutes copyright infringement. Wainright has been

consistently and routinely followed since it was decided in 1977, including by courts in the

District of Columbia.

       26.     Bloomberg is specifically aware of the Wainwright proscription on the

summarization of copyrighted material. In a recent case in which it was accused of copyright

infringement, The Swatch Group Mgmt. Services Ltd. v. Bloomberg L.P., Nos. 12-cv-2412, 12-

cv-2645 (2d Cir.), Bloomberg recognized that the Wainwright case prohibits the summarization

of an author’s copyrighted research and analysis, and explicitly acknowledged that the fair use

exception does not apply in these circumstances. Bloomberg’s statements in this previous

litigation confirm that it has actual knowledge that its conduct in repackaging and republishing

copyrighted research analyses, and particularly analyses involving financial or corporate

developments, does not qualify as a “fair use” and is thus illegal.

       27.     Moreover, Bloomberg BNA, a subsidiary of Bloomberg, L.P., has issued a

copyright and usage guideline, available at https://www.bna.com/bna-copyright-usage-a4447/.




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This guideline makes it clear that the summarization of one of its own copyrighted articles is

illegal:

                 Q: May I summarize a BBNA article and then post it on a web site
                 or include it in a client newsletter?

                 A: No. In summarizing the BBNA article, you would be making a
                 derivative work of copyrighted material, which is not permitted.

This guideline further demonstrates Bloomberg’s willful infringement of Capitol Forum’s

copyrighted work. Simply put, Bloomberg is doing exactly what it forbids others to do.

       Bloomberg’s Willful Contributory Infringement of Capitol Forum’s Copyright

           28.   Bloomberg is able to republish Capitol Forum’s copyrighted material because it

actively and affirmatively solicits Capitol Forum subscribers to forward the Capitol Forum

publications to it, and it does so in exchange for providing the subscriber with information that

the subscriber did not possess. For example, commencing around December 2016, and

continuing through December 2017, Joshua Fineman of Bloomberg’s First Word news service

induced one of Capitol Forum’s subscribers, a West Coast hedge fund, to provide him with

Capitol Forum reports in exchange for providing the hedge fund with market information that it

did not possess. This arrangement continued until Capitol Forum learned of its subscriber’s

actions and demanded that they stop. The hedge fund informed Mr. Fineman that it would no

longer agree to trade information with him. In response, Mr. Fineman acknowledged that their

actions were illegal and stated that he would not put the hedge fund in that position again.

Despite this recognition of illegality, Mr. Fineman continues his infringing activities with respect

to other Capitol Forum subscribers. Mr. Fineman continues to induce and encourage other

Capitol Forum subscribers to directly infringe Capitol Forum’s copyright protections by

soliciting those subscribers to send Capitol Forum copyrighted articles to him.




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        29. As such, Mr. Fineman and Bloomberg have induced, caused, encouraged, and

materially contributed to the direct infringement by Capitol Forum’s subscribers. Mr. Fineman

and Bloomberg are aware that the Capitol Forum material is copyrighted and that Capitol Forum

subscribers who transmit these reports violate Plaintiff’s copyright by sending them to

Bloomberg. Every Capitol Forum report Bloomberg receives contains a statement noting that

the material is copyrighted and that the reports may not be disseminated without the permission

of Capitol Forum. Mr. Fineman’s and Bloomberg’s actions in soliciting and encouraging Capitol

Forum subscribers to engage in direct infringement is illegal and willful. They know it is illegal

to encourage and induce others to violate copyright restrictions, yet they do so on a routine basis.

They know that it is illegal to encourage and induce Capitol Forum subscribers to send

copyrighted material to them, and Mr. Fineman has admitted to this illegality. The conduct of

Capitol Forum’s subscribers in transmitting these reports constitutes direct copyright

infringement. Bloomberg’s solicitation of this information, and its encouragement and

inducement to these subscribers to receive this information, constitutes contributory copyright

infringement.

       30.      Because Bloomberg knows that it is illegal for the subscribers to transmit this

information, its actions in requesting, inducing, and encouraging the unauthorized transmission

of Capitol Forum’s copyrighted material constitutes willful contributory copyright infringement.

          Bloomberg’s “Hot News” Misappropriation of Capitol Forum’s Reports

       31.      In addition to violating Capitol Forum’s copyright protection, Bloomberg’s

conduct also violates Capitol Forum’s proprietary rights under the common law tort of “hot

news” misappropriation. This doctrine prohibits free riding by competitors. It prohibits a direct




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competitor from acquiring and republishing time-sensitive news and analysis generated by its

competitor and intended only for its competitor’s subscribers and authorized recipients.

       32.     The timeliness of business and financial news reporting is essential to Capitol

Forum’s subscribers. Bloomberg competes directly with Capitol Forum for subscriptions by

end-users, and Capitol Forum and Bloomberg’s products are marketed and sold to the same

customer base. Bloomberg’s conduct in this regard necessarily diverts business opportunities

from Capitol Forum.

       33.     This free riding on Capitol Forum’s reports impairs Plaintiff’s incentive to

provide that reporting as an exclusive service to its existing subscribers and to potential new

clients. To the extent that Plaintiff is deprived of the intended exclusivity of its reports as a

result of its being made available by Bloomberg, such conduct by Bloomberg reduces the value

of the reports to Capitol Forum’s subscribers. It has already caused Capitol Forum subscribers to

cancel their subscriptions because they can obtain the same Capitol Forum news and analysis

from Bloomberg’s First Word service. If left undisturbed, Bloomberg’s conduct inevitably will,

among other things, adversely affect Capitol Forum’s willingness to continue to make substantial

investments in generating and distributing such reports.

                        Bloomberg’s Tortious Interference With Contract

       34.     Furthermore, Bloomberg has tortiously interfered with Capitol Forum’s contracts

and its contractual rights with its subscribers. All Capitol Forum subscribers must agree to be

bound by the Subscription Agreement. The terms of the agreement specify that “no copying or

distribution in any media is authorized” and that “forwarding content electronically is prohibited;

posting content on an intranet or website is prohibited, and otherwise providing content to non-

Users is prohibited.”




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       35.     Bloomberg is aware of these contractual restrictions: (1) these restrictions are

commonplace in the electronic news-distribution business and Bloomberg, as a participant in this

business, knew or should have known of the existence of such contractual restrictions; (2)

Bloomberg itself has similar contractual restrictions in its subscription agreements; and (3) the

Capitol Forum publications received by Bloomberg contain explicit notice of these restrictions.

       36.     Upon information and belief, Bloomberg intentionally procured a breach of these

contracts by inducing and encouraging certain of Capitol Forum’s subscribers to provide it with

access to Capitol Forum’s reports in violation of the Subscription Agreement.

                                           COUNT I
                                    (Copyright Infringement)
       37.     Each of the preceding paragraphs 1 through 36 is hereby incorporated herein by

reference.

       38.     Capitol Forum owns a valid copyright in its proprietary reports.

       39.     Defendants have infringed Plaintiff’s copyright in its proprietary reports by

copying and distributing content from the reports to its own subscribers without Plaintiff’s

consent or authorization.

       40.     The copying of Plaintiff’s reports is substantial in quantity and quality and

reduces the economic value of the reports. Bloomberg has appropriated the most creative,

original and significant portions of the reports and analyses, which represent a substantial

investment of time, money and labor.

       41.     Upon information and belief, Bloomberg has continued to infringe Capitol

Forum’s copyright and has no intention to cease and desist such infringing activities.

       42.     Bloomberg’s acts of copyright infringement, as alleged above, are causing Capitol

Forum irreparable injury, and will continue to do so unless restrained and enjoined.



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       43.     Bloomberg’s conduct is in violation of the copyright owner’s exclusive rights of

reproduction, preparation of derivative works, and distribution under 17 U.S.C. §§ 106(1), (2),

and (3).

       44.     The copyright violations committed by Bloomberg were willful. Bloomberg

knew it was committing a copyright violation and otherwise acted with reckless disregard of the

high probability of infringement.

       45.     Bloomberg’s knowledge is demonstrated by statements made in its appellate brief

in The Swatch Group Mgmt. Services Ltd. v. Bloomberg L.P., Nos. 12-cv-2412, 12-cv-2645 (2d

Cir.), in which Bloomberg conceded that the fair use exception does not apply when the

copyrighted material is based on an analysis—and is not just reporting “facts.”

       46.     Bloomberg’s knowledge is also demonstrated by Bloomberg BNA’s copyright

guideline, which states that it is a copyright violation to summarize a Bloomberg article.

       47.     As a direct and foreseeable consequence of these acts, Plaintiff has been and

continues to be damaged, and Plaintiff is entitled to statutory damages of $150,000 per violation,

or actual damages and Bloomberg’s profits, as well as its costs and reasonable attorneys’ fees

pursuant to 17 U.S.C. §§ 504, 505.

                                         COUNT II
                            (Contributory Copyright Infringement)

       48.     Each of the preceding paragraphs 1 through 47 is hereby incorporated herein by

reference.

       49.     Bloomberg had actual or constructive knowledge of the infringement by one or

more third party recipients of Plaintiff’s copyrighted reports.

       50.     Bloomberg, by encouraging, inducing, and causing these third parties to provide

such reports or the contents of those reports to it, has engaged in the contributory infringement of



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a copyrighted work. Bloomberg has materially contributed to the direct copyright infringement

of third parties.

        51.     The contributory copyright violations committed by Bloomberg were and

continue to be willful.

        52.     As a direct and foreseeable consequence of these acts, Plaintiff has been and

continues to be damaged, and plaintiff is entitled to statutory damages of $150,000 per violation,

or actual damages and Bloomberg’s profits, as well as its costs and reasonable attorneys’ fees

pursuant to 17 U.S.C. §§ 504, 505.

                                            COUNT III
                                    (Hot News Misappropriation)

        53.     Each of the preceding paragraphs 1 through 52 is hereby incorporated herein by

reference.

        54.     Through substantial efforts and at a significant cost to Capitol Forum, Capitol

Forum gathers, analyzes and reports breaking news to its subscribers in a timely fashion through

its reports.

        55.         The newsworthy information that Capitol Forum gathers, analyzes and reports is

valuable to many of its customers in large part because of its time-sensitive nature.

        56.     Bloomberg’s practice of copying and distributing the content of Capitol Forum’s

reports via its “First Word” news alerts constitutes actionable misappropriation because:

        (i)     Capitol Forum prepares the analysis contained in their reports at considerable cost

                and expense;

        (ii)    the value of the analysis is highly time-sensitive;

        (iii)   Bloomberg’s use of the analysis constitutes free riding on Capitol Forum’s efforts

                to prepare it;



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       (iv)    Bloomberg’s use of the analysis is in direct competition with the analysis offered

               by Capitol Forum; and

       (v)     the ability of other parties to free ride on Capitol Forum’s efforts will

               substantially threaten Capitol Forum’s incentive to continue to invest in its

               investigative reporting at the same level.

       57.     Bloomberg’s conduct has damaged Capitol Forum while unjustly enriching

Bloomberg and will continue to do so unless enjoined.

       58.     Bloomberg’s actions were undertaken in bad faith, maliciously, willfully,

wantonly, and in disregard of Capitol Forum’s rights.

       59.     As a consequence of Bloomberg’s misappropriation of hot news, Capitol Forum is

entitled to injunctive relief and compensatory and punitive damages, in an amount to be

determined at trial.

                                          COUNT IV
                             (Tortious Interference With Contract)

       60.     Each of the preceding paragraphs 1 through 59 is hereby incorporated herein by

reference.

       61.     Upon information and belief, Bloomberg acquires access to Capitol Forum’s

proprietary reports through one or more of Plaintiff’s paid subscribers or authorized recipients.

       62.      Capitol Forum carefully restricts by contract the terms on which persons or

entities may electronically access, use, and redistribute the news it publishes. Subscribers of

Capitol Forum must agree to, and are bound by, the terms of the Subscription Agreement, which

restricts use and redistribution of Capitol Forum’s content. The Capitol Forum content sent to

and then distributed by Bloomberg was acquired in breach of such contractual terms.




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       63.     The Subscription Agreement between Capitol Forum and its subscribers

constitutes a valid and enforceable contract.

       64.     In order to obtain access to Capitol Forum’s content, Bloomberg, including one or

more of its agents or representatives acting at Bloomberg’s direction induced other persons to

provide Bloomberg with access to Capitol Forum’s reports in violation of the Subscription

Agreement.

       65.     Bloomberg is aware of the restrictions on redistribution of Capitol Forum’s

content. Yet with express knowledge of the existence of these contractual restrictions, and

without justification, Bloomberg intentionally induced one or more third parties to breach the

Subscription Agreement by providing Bloomberg with access to Capitol Forum’s content.

       66.     By copying and redistributing Capitol Forum’s news content, Bloomberg has

induced third parties to breach their Subscription Agreements.

       67.     Bloomberg’s interference with Capitol Forum’s contractual relationships, in light

of the facts plead above, constitutes willful misconduct, and has caused injury to Capitol Forum.

       68.     As a consequence of Bloomberg’s tortious interference with Capitol Forum’s

contracts, Capitol Forum is entitled to injunctive relief and compensatory and punitive damages,

in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays as follows:

1.     That the Court issue a declaration: (1) that Defendants have engaged in direct copyright

infringement; (2) that Defendants have engaged in contributory copyright infringement; (3) that

Defendants have misappropriated Capitol Forum’s property in its commercially valuable and




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time-sensitive analyses; and (4) that Defendants have intentionally induced third parties to

breach Plaintiff’s contractual rights;

2.     That the Court issue a declaration that Defendants’ acts and conduct set forth in the above

prayer were willful;

3.     That the Court issue an injunction, pursuant to 17 U.S.C. § 502 and the equity jurisdiction

of this Court, directing that the Defendants, their agents, employees, or representatives, and all

persons in privity therewith, are prohibited and permanently restrained from using the Capitol

Forum’s proprietary reports and from publishing, selling, marketing, or otherwise distributing

any copies of any material which has been derived in any manner by violation of Capitol

Forum’s copyrighted and/or proprietary rights;

4.     That the Court award Capitol Forum compensatory damages, restitution and

disgorgement, and punitive damages, as well as statutory damages for Defendants’ copyright

infringement and contributory copyright infringement in the amount of one hundred and fifty

thousand dollars ($150,000) for each act of infringement pursuant to 17 U.S.C. § 504;

5.     That the Court require Defendants to pay Capitol Forum the costs of this action, pursuant

to 17 U.S.C. § 505, including reasonable attorneys’ fees; and

6.     That the Court award such other and further relief as this Court deems just and equitable.




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